 Case 1:18-cr-00083-TSE Document 304 Filed 10/17/18 Page 1 of 6 PageID# 6635



                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

 UNITED STATES OF AMERICA

               v.
                                           Crim. No. 1:18-cr-83 (TSE)
 PAUL J. MANAFORT, JR.,


               Defendant.


            GOVERNMENT’S FILING IN RESPONSE TO THE COURT’S
           OCTOBER 10, 2018 ORDER SETTING A STATUS CONFERENCE

       The United States of America, by and through Special Counsel Robert S. Mueller, III,

submits this filing in advance of the status conference scheduled for October 19, 2018. See Doc.

299 (Oct. 10, 2018 Order, hereinafter “Order”). On October 10, 2018, the Court ordered the parties

to appear so that: (i) defendant Paul J. Manafort, Jr. can be advised regarding his right to the

preparation of a Presentence Investigation Report (PSR); (ii) a sentencing date can be set and a

PSR ordered; and (iii) the parties may address dismissal of the outstanding counts on which the

jury deadlocked at trial. Doc. 299 at 2.

       As noted herein, the government does not oppose either the commencement of preparing

the PSR or the scheduling of a sentencing date.1 With respect to the outstanding counts in the

Eastern District of Virginia prosecution, the government prefers to have the disposition of those

counts deferred to the time of sentencing or the successful completion of the defendant’s

cooperation, as agreed to in the parties’ plea agreement, previously provided to the Court. In the



       1   With the consent of defense counsel, the government had contacted the Probation
Department, prior to the Court’s October 10, 2018 Order, to inquire whether the PSR process could
be initiated.
                                                1
 Case 1:18-cr-00083-TSE Document 304 Filed 10/17/18 Page 2 of 6 PageID# 6636



alternative, should the Court seek resolution of those counts now, the government does not oppose

the dismissal of those counts without prejudice.         Counsel for Manafort has informed the

government that Manafort does not oppose the government’s positions.

                                         BACKGROUND

       On August 21, 2018, a jury sitting in the Eastern District of Virginia found defendant

Manafort guilty of five counts of subscribing a false tax return, one count of failing to file reports

of foreign bank accounts, and two counts of bank fraud. Doc. 280. The Court declared a mistrial

as to the remaining counts. Doc. 264. On August 30, 2018, the Court extended the deadline for

the government to file notice of its intent to retry the ten outstanding counts to within one week of

the Court’s ruling on the post-trial motions of the defendant. Doc. 292.

       On September 14, 2018, Manafort pled guilty, pursuant to a cooperation agreement, to a

two-count superseding information in the United States District Court for the District of Columbia,

Case No. 17-cr-201-ABJ (D.D.C.). In that agreement, the parties agreed that the government

would move to dismiss the outstanding counts in the Eastern District of Virginia “at the time of

sentence or at the completion of [Manafort’s] successful cooperation, whichever is later.” Id. at

2-3. Manafort also admitted his liability for the conduct forming the basis of the outstanding

counts before this Court. The government notified this Court of the plea on the day it was entered

and accepted. Doc. 296.

       On September 20, Manafort submitted notice to the Court that, pursuant to the plea

agreement in the District of Columbia prosecution, he would not be filing any post-trial motions

in this Court. Doc. 297. On September 26, the government filed a notice explaining that, in

accordance with the D.C. plea agreement, it would “move to dismiss the hung counts and any other




                                                  2
Case 1:18-cr-00083-TSE Document 304 Filed 10/17/18 Page 3 of 6 PageID# 6637



remaining counts at the time of sentence or at the completion of [Manafort’s] successful

cooperation, whichever is later.” Doc. 298.

                                         DISCUSSION

       The government has no objection to the Court scheduling a sentencing date prior to the

conclusion of any cooperation. Although some district courts prefer to sentence at a later date—

so that the full scope of cooperation is before the court and it can sentence once (as opposed to

entertaining a Rule 35 application for reduction of sentence)—it is well within the Court’s

discretion to require sentencing at an earlier point. The government has no objection to proceeding

in that manner, and defense counsel has indicated that Manafort does not either.

       With respect to the mistried counts, as agreed by the parties, the government believes that

they should be dealt with at either the time of sentencing or when the defendant’s successful

cooperation is complete. The government has not found any rule or case law, including any rulings

by this Court, that would preclude the dismissal of outstanding counts at sentencing. See, e.g.,

United States v. Lewellyn, Nos. 91-5530, 91-5531, 1992 WL 9318, at * 3 (4th Cir. 1992) (“Under

each agreement, the government promised to dismiss other counts of the indictment at the time of

sentencing.”); United States v. Lindh, 227 F. Supp. 2d 565, 566 n.2 (E.D. Va. 2002) (where

defendant pleaded guilty to some counts, “[t]he remaining nine counts of the ten-count Indictment

were dismissed on the government’s motion at the time of sentencing”); Stewart v. United States,

No. 3:05-cr-104, 2008 WL 4811474, at *1 (W.D.N.C. Oct. 31, 2008) (the defendant “entered into

a written plea agreement with the Government wherein he agreed to plead guilty to Count One and

Counts Two and Three would be dismissed at the time of sentencing”). The government has not

found precedent suggesting that outstanding counts must be dismissed before sentencing.




                                                3
 Case 1:18-cr-00083-TSE Document 304 Filed 10/17/18 Page 4 of 6 PageID# 6638



       Notwithstanding the absence of controlling authority to the contrary, to the extent the Court

requires the resolution of the outstanding counts prior to sentencing, the government does not

oppose the dismissal of those counts without prejudice.2

                                          CONCLUSION

       For these reasons, the government submits that the PSR can be prepared now and the

government has no opposition to the Court’s scheduling the matter for sentencing.                The

government also submits that the outstanding counts properly can be dismissed either at sentencing

or at the completion of the defendant’s successful cooperation. To the extent the Court seeks

immediate action on the outstanding counts, the government does not oppose their dismissal

without prejudice.




       2
           As another district court has explained, “there is a strong presumption in favor of a
dismissal without prejudice over one with prejudice.” United States v. Florian, 765 F. Supp. 2d
32, 34-35 (D.D.C. 2011). Courts in this circuit and elsewhere have regularly followed that practice
in cases involving mistrials declared due to the jury’s failure to reach a verdict. See, e.g., United
States v. Whittemore, 776 F.3d 1074, 1077 (9th Cir. 2015) (“The jury could not reach a verdict on
a second charge of making a false statement to a federal agency. The district court declared a
mistrial on that count and granted the government’s motion to dismiss without prejudice.”); United
States v. Moore, 763 F.3d 900, 908 (7th Cir. 2014) (following guilty verdicts on Counts Two and
Three and a failure to reach a verdict on Count One, “the court formally entered findings of guilt
on the latter two counts, declared a mistrial on Count One, and, on the government’s motion,
dismissed Count One without prejudice”); United States v. Smith, 705 F.3d 1268, 1271 (10th Cir.
2013) (“The district court declared a mistrial as to four other counts on which the jury could not
reach a verdict, later dismissing these counts without prejudice.”); see also United States v. Steele,
No. 99-4589, 2000 WL 690494, at *2 (4th Cir. 2000) (unpublished) (“After two days of
deliberations the jury reported twice to the district court that it was hopelessly deadlocked. The
court declared a mistrial, and the [Office of Independent Counsel] elected not to retry Steele. The
indictment was dismissed without prejudice.”). Dismissal with prejudice is available only in
extreme circumstances, such as where the government acts in bad faith. See United States v.
Goodson, 204 F.3d 508, 512-513 (4th Cir. 2000); Florian, 765 F. Supp. 2d at 35. No such
circumstances are present here. 


                                                  4
Case 1:18-cr-00083-TSE Document 304 Filed 10/17/18 Page 5 of 6 PageID# 6639



                                         Respectfully submitted,

                                         ROBERT S. MUELLER, III
                                         Special Counsel

Dated: October 17, 2018                  /s/
                                         Andrew Weissmann
Uzo Asonye                               Greg D. Andres
Assistant United States Attorney         Brandon L. Van Grack
Eastern District of Virginia             U.S. Department of Justice
                                         Special Counsel’s Office
                                         950 Pennsylvania Avenue NW
                                         Washington, D.C. 20530
                                         Telephone: (202) 616-0800
                                         Attorneys for United States of America




                                     5
 Case 1:18-cr-00083-TSE Document 304 Filed 10/17/18 Page 6 of 6 PageID# 6640



                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 17th day of October, 2018, I will cause to be filed electronically

the foregoing with the Clerk of Court using the CM/ECF system, which will then send a

notification of such filing (NEF) to the following:

Thomas E. Zehnle (VA Bar No. 27755)
Law Office of Thomas E. Zehnle
601 New Jersey Avenue, N.W., Suite 620
Washington, D.C. 20001
tezehnle@gmail.com

Jay R. Nanavati (VA Bar No. 44391)
Kostelanetz & Fink LLP
601 New Jersey Avenue, N.W., Suite 620
Washington, D.C. 20001
jnanavati@kflaw.com




                                                            /s/                     ____
                                                      Uzo Asonye
                                                      Assistant United States Attorney
                                                      U.S. Attorney’s Office
                                                      Eastern District of Virginia
                                                      2100 Jamieson Avenue
                                                      Alexandria, VA 22314
                                                      uzo.asonye@usdoj.gov
                                                      Phone: (703) 299-3700
                                                      Fax: (703) 299-3981

                                                      Attorney for the United States of America




                                                 6
